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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


CLAYTON HAUGEN,                        Case No. 2:21-cv-00035-JRG

                        Plaintiff,

      v.

ACTIVISION PUBLISHING, INC. et al.,

                        Defendants.


DEFENDANTS ACTIVISION PUBLISHING, INC., ET AL.’S MOTION TO TRANSFER
                             VENUE
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I.     INTRODUCTION

       This is a case of alleged copyright infringement that has no ties to the State of Texas.

Plaintiff Clayton Haugen (“Plaintiff”) alleges that a character in Call of Duty: Modern Warfare,

a videogame developed and published in California, infringes Plaintiff’s copyrights. The parties

have nothing whatsoever to do with Texas. By his own admission, Plaintiff is a resident of

North Carolina and does business in Arizona. Defendants Activision Publishing, Inc., Activision

Blizzard, Inc., Infinity Ward, Inc., and Major League Gaming Corp. (collectively, “Defendants”)

do business in the Central District of California and have no offices in this District.

       Both the private and public Section 1404(a) factors collectively favor transfer. No

witness or party to this case lives or works in the Eastern District of Texas; the Plaintiff does not

even allege that he has ever visited this district. Instead, key third-party witness Petrol

Advertising operates out of Burbank, California, which is in the Central District of California.

Other third-party witnesses are located in Los Angeles.

       The copyrighted works were not created in Texas. None of the activities giving rise to

the alleged infringement occurred in Texas. None of the witnesses are located in Texas. No

documents are located in Texas. The only tie this case has to the State of Texas is the fact that

Plaintiff’s counsel live in Houston and Dallas (which is irrelevant under Fifth Circuit precedent)

and that copies of Call of Duty: Modern Warfare have been purchased in the Eastern District of

Texas (which is not enough under Fifth Circuit precedent). This case should have been filed in

the Central District of California, and it should be transferred there.

       Furthermore, Plaintiff expressly agreed to a forum selection clause that requires this case

to be transferred to the Central District of California. When he licensed and began playing Call

of Duty: Modern Warfare, he “irrevocably consent[ed] to the exclusive jurisdiction and venue of

state or federal courts in Los Angeles County, California to resolve,” among other things, claims


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for “copyright infringement.” Therefore, Haugen has agreed to the venue of the Central District

of California to resolve his intellectual property disputes with Activision Publishing, Inc., and

claims against that entity can proceed only in the Central District of California.

II.    FACTUAL BACKGROUND

       A.      This Case Lacks Any Ties to the Eastern District of Texas.

       Plaintiff is a resident of North Carolina who does business in Arizona. Compl. ¶ 6, ECF

No. 1. On February 2, 2021, he brought this action against Defendants asserting a single cause

of action for copyright infringement. See id. ¶ 49. The theory underlying this claim is that

Defendants, in designing a character for the video game Call of Duty: Modern Warfare, copied

photographs Plaintiff created of a character named Cade Janus for a story called November

Renaissance. See id. ¶¶ 1–5, 18. Plaintiff alleges he directed the styling of and took photographs

of a model as Cade Janus. Id. ¶ 22. Plaintiff also identifies a document created by third party

Petrol Advertising of being one instance of infringement and as indicative of Defendants’ access

to Plaintiff’s works. Id. ¶ 31–32; Gratz Decl. ¶ 2; Ex. A.

       According to his publicly-available LinkedIn profile and an internet post by Plaintiff,

Plaintiff was conducting business in Arizona during the creation of the copyrighted works and

developed November Renaissance in Arizona. See Gratz Decl., Ex. C, D, E. Plaintiff worked

with then Los Angeles resident, Michael Gee, in developing November Renaissance. Id., Ex. D,

E. There is no allegation that the allegedly infringing works were created, in whole or in part, in

Texas. Instead, the complaint alleges that venue is appropriate because units of the Modern

Warfare were eventually distributed at a Gamestop store in the Eastern District of Texas.

Complaint ¶ 16. The complaint does not identify any witnesses or documents in the Eastern

District of Texas. See generally id.




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        B.      Plaintiff Purchases Call of Duty: Modern Warfare and Agrees to the Terms of
                Use, Including the Forum Selection Clause.

        Plaintiff licensed and began playing Call of Duty: Modern Warfare on or about

November 27, 2019. Butcher Decl. ¶ 4; Ex. B. In order to play the game, Plaintiff affirmatively

accepted and agreed to Activision Publishing’s Software Terms of Use (the

“Agreement”). Butcher Decl. ¶¶ 3, 5–10; Ex. A, C, D, E. Plaintiff could have declined the terms

of this Agreement within thirty days and received a full refund. Id.

        The Agreement contains terms governing the way that disputes relating to the game must

be brought. Butcher Decl., Ex. A, ¶ 16. The Agreement requires that certain disputes be

resolved through arbitration, and that other disputes are subject to exceptions to the arbitration

agreement. Id. One such exception is “Litigation of Intellectual Property” claims. This provides

that “either party may bring an action in state or federal court that only asserts claims for . . .

copyright infringement . . . .” Id. Thus, the Agreement expressly contemplates that claims for

copyright infringement that relate to the game fall within the scope of the Agreement’s dispute-

resolution provisions.

        The Agreement limits the courts in which copyright infringement claims can be brought.

It provides that those who accept the Agreement “irrevocably consent to the exclusive

jurisdiction and venue of state or federal courts in Los Angeles County, California to resolve any

claims that are subject to the exceptions to the arbitration agreement described in BINDING

ARBITRATION AND CLASS ACTION WAIVER above, or otherwise determined not to be

arbitrable.” Id. ¶ 17(A).




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III.    DISCUSSION

        A.      This Case Should Be Transferred to the Central District of California
                Pursuant to 28 U.S.C. § 1404(a) Because the Private and Public Factors
                Favor Transfer.

        28 U.S.C. § 1404(a) provides that “[f]or the convenience of the parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division where

it might have been brought . . . .” 28 U.S.C. § 1404(a). The threshold inquiry when analyzing a

case’s eligibility for a Section 1404(a) transfer is “whether the judicial district to which transfer is

sought would have been a district in which the claim could have been filed.” In re Volkswagen AG

(“Volkswagen I”), 371 F.3d 201, 203 (5th Cir. 2004) (citation omitted). Once that threshold is met,

courts analyze both “private” and “public” factors to determine whether transfer is appropriate. See

Humble Oil & Ref. Co. v. Bell Marine Serv., Inc., 321 F.2d 53, 56 (5th Cir. 1963). The private and

public factors are sometimes referred to as the Gilbert factors. See Volkswagen I, 371 F.3d at 206

(citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501 (1947)).

        While “traditionally” the “plaintiff’s choice of forum” was a “strong factor that weighs

against transfer,” “[r]ecently . . . the Fifth Circuit concluded that district courts should deem the

plaintiff’s choice of forum less important.” Frederick v. Advanced Fin. Sols., Inc., 558 F. Supp. 2d

699, 703 (E.D. Tex. 2007) (citing In re Horseshoe Entertainment, 337 F.3d 429 (5th Cir. 2003)).

Indeed, “plaintiff’s choice of venue is not a factor in this analysis” at all. Uniloc 2017 LLC v. Google

LLC, No. 2:18-cv-00504-JRG-RSP, 2020 WL 3064460, at *2 (E.D. Tex. June 8, 2020) (citing In re

Volkswagen of Am., 545 F.3d 304, 314–15 (5th Cir. 2008) (“Volkswagen II”)). Instead, “the

plaintiff’s choice of venue contributes to the defendant’s burden of proving that the transferee venue

is ‘clearly more convenient’ than the transferor venue.” Id. And “[t]he plaintiff’s forum choice is

given less weight when the plaintiff brings suit outside of its home district.” Frederick, 558 F. Supp.

2d at 703 (emphasis added).




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       Here, plaintiff has brought suit outside of his home district, and therefore, his choice of

forum should be given even less weight relative to the Gilbert factors.

               1.      This Case Could Have Been Brought in the Central District of
                       California.

       The facts of this case satisfy the threshold inquiry: This case could have been brought in

the Central District of California. Each of the Defendants has its principal place of business in

the Central District of California. Roux Decl. ¶¶ 2-5; 9. Further, as will be discussed below,

Plaintiff agreed to the “exclusive jurisdiction and venue of state or federal courts in Los Angeles

County, California.” Therefore, venue in the Central District of California is proper.

               2.      The Private Factors Collectively Favor Transfer.

       The private interest factors are (1) the relative ease of access to sources of proof; (2) the

availability of compulsory process to secure the attendance of witnesses; (3) the cost of

attendance for willing witnesses; and (4) all other practical problems that make trial of a case

easy, expeditious and inexpensive. Volkswagen I, 545 F.3d at 315. Of these factors, “[n]one . . .

can be said to be of dispositive weight.” Id. (quoting Action Indus., Inc. v. U.S. Fid. & Guar.

Corp., 358 F.3d 337, 340 (5th Cir. 2004)). Each of these private factors favor transfer.

                       a.      Relative Ease of Access to Sources of Proof

       The sources of proof will be, in relative terms, easier to access in the Central District of

California as compared to this district. On at least two occasions, district courts that have

attempted to minimize this factor because of the modern relative ease of transporting documents

have been overturned on mandamus. See Volkswagen I, 545 F.3d at 316; In re Radmax, Ltd.,

720 F.3d 285, 288 (5th Cir. 2013). But in the Fifth Circuit, as elsewhere, the relative ease of

access to proof still matters: “That access to some sources of proof presents a lesser

inconvenience now than it might have absent recent developments does not render this factor




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superfluous.” Volkswagen I, 545 F.3d at 316 (emphasis added). Furthermore, even if “such

inconvenience may well be slight . . . the question is relative ease of access, not absolute ease of

access.” In re Radmax, 720 F.3d at 288 (emphasis added). In In re Radmax, the court

considered the relative convenience of the Eastern District’s Tyler or Marshall divisions, one just

sixty miles from the other. The court, after noting that all documents and physical evidence were

located in Tyler, transferred the case from Marshall to Tyler. Id. Where “all of the documents

and physical evidence . . . are located” elsewhere, the factor “does weigh in favor of transfer.”

Volkswagen I, 545 F.3d at 316.

        Here, the relative ease of access to proof favors transfer. None of the sources of proof for

this case are even in the State of Texas—much less the Eastern District. Instead, nearly all of the

documents, physical evidence, and other sources of proof for this case are located at Defendants’

places of business in the Central District of California or, quite likely, at Plaintiff’s place of

business in Arizona. Furthermore, third party Petrol Advertising, whose work product is

referenced in the complaint as a source of infringement, is likely to have discoverable material

that is also located in the Central District of California. Compl. ¶¶ 31–33. It would be more

convenient to transport Plaintiff’s documents to the Central District of California from the

District of Arizona and to keep Defendants’ and Petrol’s business records there than it would be

to transfer all these documents to Texas. This factor favors transfer the District of Central

District of California.

                          b.    Availability of Compulsory Process to Secure Attendance of
                                Witnesses

        “Pursuant to Federal Rule of Civil Procedure 45, a federal district court can command

non-party witnesses located more than 100 miles from the courthouse to comply with a subpoena

provided the witness resides, is employed, or regularly transacts business within the state and




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would not incur substantial expense by complying.” Loeb-Defever v. Strategic Constr., Ltd., No.

4:19-cv-00578, 2020 WL 2496883, at *5 (E.D. Tex. May 14, 2020) (citing Potter v. Cardinal

Health 200, LLC, No. 2:19-cv-00007, 2019 WL 2150923, at *3 (E.D. Tex. May 16, 2019)); see

also Fed. R. Civ. P. 45(c)(1)(B)(i)-(ii).

       A key nonparty witness in this case is Petrol Advertising. Plaintiff alleges that

Defendants accessed Plaintiff’s work through a document called “Project Odyssey,” which was

created by Petrol and produced to Plaintiff’s counsel by Petrol in discovery in an unrelated case.

Compl. ¶¶ 31–32; Gratz Decl ¶ 2; Ex. A, B. Thus, this document, its creation, purpose and

distribution are key to Plaintiff’s allegations. Petrol Advertising does not reside or have an office

in Texas; it does business in Burbank, California. Nor, to Defendants’ knowledge, does Petrol

regularly transact business in the state of Texas.

       Therefore, compulsory process will not be available to compel Petrol witnesses to appear.

Transfer of this case to the Central District of California resolves this issue. As a Burbank,

California business, Petrol resides within the 100-mile radius of the courthouse, and the court

would therefore have the power to compel it to appear. Gratz Decl., Ex. F.

       In addition, there are former employees of Defendants that reside in the Central District

of California and have information relevant to the accused video game. For example, Jason

Ades was a Senior Producer who worked on Modern Warfare and Byron Beede was the

Executive Vice President and General Manager of Call of Duty. Roux Decl. ¶ 12. These

individuals are no longer employees of Defendants, but reside within a 100-mile radius of the

Central District of California. Id.

       In addition, Plaintiff alleges that he created the photographs at issue in this case to

“‘pitch’ November Renaissance to film studios.” Compl. ¶ 22. According to Plaintiff’s internet




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post, at least two such pitches were to studios located in Los Angeles, California, including Fox

Studios. Gratz Decl. Ex. E, at p. 5. These film studios will have important information about

Plaintiff’s allegations regarding the alleged use and importance of these photographs in these

pitch meetings. These film studios are not subject to compulsory process in this District, but

would be if the case were transferred to the Central District of California.

       Further, Plaintiff created November Renaissance with an individual named Michael Gee.

According to a Kickstarter campaign launched by Gee and Plaintiff, Gee appears to have been

located in Los Angeles, California as of 2019. Gratz Decl. Ex. D.

       Thus, a multitude of key third party witnesses are subject to compulsory service of

process in the Central District of California and not the Eastern District of Texas.

       This factor weighs heavily in favor of transfer.

                       c.      The Cost of Attendance for Willing Witnesses

       The third factor, the convenience of non-party witnesses, “is the more important

consideration in a transfer of a venue analysis.” Loeb-Defever, 2020 WL 2496883, at *6. (citing

Mohamed v. Mazda Motor Corp., 90 F. Supp. 2d 757, 775 (E.D. Tex. 2000)). “So, while the

location of party witnesses may factor into transfer analysis, it is the location of key, non-party

witnesses that dominates.” Id.

       Petrol, the key non-party witness, would incur substantial expense traveling to the

Eastern District of Texas. The court has previously held that traveling over 200 miles from the

Southern District of Texas would cause a witness to incur substantial expense. Loeb-Defever,

2020 WL 2496883, at *5 (substantial expense incurred by witnesses travelling 264 miles and 322

miles). Los Angeles is 1586.43 driving miles from Marshall, Texas. Gratz Decl., Ex. G. Petrol

would incur substantial expense in appearing in Marshall, Texas for trial.




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       No witness, party or non-party, resides in the Eastern District of Texas, and key witness

Petrol Advertising resides in California, as do other potential trial witnesses. Because the key

witnesses are located closer to the Los Angeles courthouse than the Marshall courthouse, this

factor weighs heavily in favor of transfer.

                       d.      All Other Practical Problems That Make Trial of a Case Easy,
                               Expeditious, and Inexpensive

       As explained above, the party witnesses in this case are located either in Arizona or

California. Further, there is no nexus between the allegedly infringed work and the alleged

infringement and the State of Texas. Because of the location of the parties, it would be simpler

and more economical to try the case in the Central District of California. There are no practical

problems with trying the case in the Central District of California. In addition, Haugen’s claim

against Activision Publishing must be transferred, and it would be more judicially efficient to try

all claims in the same forum (the Central District of California). This factor therefore also favors

transfer. See Loeb-Defever, 2020 WL 2496883, at *7 (fourth factor weighs in favor of transfer

where most of the defendants are in a different judicial forum, and plaintiff’s choice of venue

“has little to no factual nexus to the present case”).

       In sum, all private factors favor transfer.

               3.      The Public Factors Collectively Favor Transfer.

                       a.      Administrative Difficulties Flowing from Court Congestion

       Both the Eastern District of Texas and Central District of California are capable of

administrating litigation and a trial. There is no reason why one district is more administratively

capable of handling such litigation or trial than another. Therefore, this factor is neutral.




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                       b.      Local Interest in Having Localized Interests Decided at Home

       The Eastern District of Texas has no localized interest in deciding this case. The alleged

copying of the work took place in California, as did the development, marketing, and publishing

of the game. See Loeb-Defever, 2020 WL 2496883, at *4 (second factor weighs in favor of

transfer where “Plaintiffs have not alleged that any of the underlying acts or omissions occurred

in the Eastern District”). Haugen lives in North Carolina and works in Arizona, far from this

district. The mere allegation that units of Modern Warfare were sold in Texas is not sufficient to

give rise to a local interest in the matter because there is no allegation that anyone in the Eastern

District of Texas is harmed by these sales.

       By contrast, the Central District of California has a strong interest in knowing about and

preventing alleged copyright infringement from occurring in its district. California will therefore

have a strong interest in this lawsuit.

       This factor therefore favors transfer.

                       c.      Familiarity of the Forum with the Governing Law and
                               Avoidance of Unnecessary Conflict of Law

       This case concerns federal copyright law. Federal courts are presumed to have equal

familiarity with federal laws. Further, there are no immediately identifiable conflicts of law

relevant to this case. Therefore, these two factors are also neutral. See Uniloc, 2020 WL

3064460, at *6.

       One of the public interest factors weighs in favor of transfer, and three are neutral.

               4.      Summary of the Factors

       In summary, five of the eight factors favor transfer, three of the eight factors are neutral,

and none of the eight factors favor this case remaining in the Eastern District of Texas, where no

documents or witnesses are located. As a group, these factors favor transfer.




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       B.      The Claim Against Activision Publishing, Inc. Should Be Further
               Transferred to the Central District of California Pursuant to 28 U.S.C. §
               1404(a) Because Haugen Agreed to a Forum Selection Clause with Activision
               Publishing, Inc.

       Haugen agreed via a forum selection clause to litigate all claims against Activision

Publishing, Inc. in Los Angeles County. That clause should be enforced, and this is an additional

reason to transfer the case to the Central District of California.

               1.      The Forum Selection Clause is Mandatory and Enforceable.

       Courts recognize a “sharp distinction between mandatory and permissive [forum

selection clauses].” Weber v. PACT XPP Techs., AG, 811 F.3d 758, 768 (5th Cir. 2016); see also

Ashall Homes Ltd. v. ROK Entm’t Grp. Inc., 992 A.2d 1239 (Del. Ch. 2010). 1 “A mandatory

[forum selection clause] affirmatively requires that litigation arising from the contract be carried

out in a given forum.” Weber, 811 F.3d at 768. “Only mandatory clauses justify transfer or

dismissal.” Id. “A[] [forum selection clause] is mandatory only if it contains clear language

specifying that litigation must occur in the specified forum[.]” Id.

       The forum selection clause here is clearly mandatory: it states that the state and federal

courts of Los Angeles County, California provide the “exclusive” venue “to resolve any claims”

for copyright infringement and that the parties “irrevocably consent” to this venue for those

claims. Butcher Decl., Ex. A, ¶ 17(A) (emphasis added). The parties agreed that this venue and

only this venue will govern any non-arbitrated disputes. In other words, the parties agree that the

venue for copyright infringement claims must be Los Angeles County courts.




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  The Fifth Circuit has left open whether the validity and enforceability of a forum selection
clause is a matter of state or federal law. Barnett v. DynCorp Int’l, L.L.C., 831 F.3d 296, 303
(5th Cir. 2016). The contract provides for Delaware state law. Defendants do not see a material
difference between federal law and Delaware state law on this issue, and provide parallel
citations to both Fifth Circuit and Delaware decisions for that reason.



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       The clause is enforceable as well. The Fifth Circuit applies a “strong presumption in

favor of the enforceability of mandatory [forum selection clauses].” Weber, 811 F.3d at 773

(citing Haynsworth v. The Corp., 121 F.3d 956, 962 (5th Cir. 1997)); see also Aveta, Inc. v.

Colon, 942 A.2d 603, 607 n.7 (Del. Ch. 2008). This presumption of enforceability is only

overcome in certain express circumstances, none of which are present here. Weber, 811 F.3d at

773 (quoting Haynsworth, 121 F.3d at 963).

       Therefore, the clause is mandatory and enforceable.

               2.      The Forum Selection Clause Covers All Claims Between the Parties
                       that Are Not Arbitrable.

       The Court must also decide whether the clause covers the Plaintiff’s claim. See, e.g.,

Marinechance Shipping, Ltd. v. Sebastian, 143 F.3d 216 (5th Cir. 1998). The court must “look

to the language of the parties’ contracts to determine which causes of action are governed by the

forum selection clauses.” Id. at 222; see also Ashall Homes, 992 A.2d at 1252 (a forum selection

clause cannot be defeated by “artful pleading of claims”).

       Here, Plaintiff’s claim plainly relates to the software program that is the subject of the

Agreement—Call of Duty: Modern Warfare. Further, the language that governs the forum

selection clause encompasses claims between the parties that either “are subject to exceptions to

the arbitration agreement described in BINDING ARIBITRATION AND CLASS ACTION

WAIVER” or are “otherwise determined not to be arbitrable.” Butcher Decl., Ex. A, ¶ 17(A)

(Software Terms of Use). The BINDING ARBITRATION AND CLASS ACTION WAIVER

section of the contract explicitly identifies copyright infringement claims relating to the game as

one of the “exceptions to the arbitration agreement.” Id. ¶ 16. Therefore, the contract

unambiguously and expressly contemplates that an intellectual property claim that arises

between the parties relating to the game falls within the scope of the Agreement and expressly




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identifies those claims as non-arbitrable and subject to the forum selection clause establishing the

exclusive venue of Los Angeles County.

        The broad scope of the Agreement and its forum selection clause is reinforced by the

language governing initial dispute resolution prior to bringing an arbitration claim: the contract

contemplates that “any concerns you may have regarding [Modern Warfare]” are to be raised

through an informal dispute resolution process, which is followed by the binding arbitration

procedure and exceptions to that procedure. Id ¶ 16. This copyright claim is a “concern[]

[Haugen] may have regarding [Modern Warfare]”; i.e., that it allegedly includes his copyrighted

material. Therefore, it is expressly contemplated by, and within the scope of, the dispute

resolution provisions of the Agreement.

        Because copyright infringement claims “are subject to the exceptions to the arbitration

agreement,” they may only be brought in the “exclusive . . . venue of state or federal courts in

Los Angeles, County, California.”

                3.      Section 1404 Compels Transfer to the Central District of California.

        The Section 1404(a) analysis changes in three ways when a forum selection clause is

present.

        “First, the plaintiff’s choice of forum merits no weight. . . . [W]hen a plaintiff agrees by

contract to bring suit only in a specified forum . . . the plaintiff has effectively exercised its

‘venue privilege’ before a dispute arises. Only that initial choice deserves deference[.]” Atlantic

Marine Constr. Co., Inc. v. United States Dist. Court for W. Dist. Tex., 571 U.S. 49, 63 (2013).

        “Second, a court . . . should not consider arguments about the parties’ private interests.

When parties agree to a forum-selection clause, they waive the right to challenge the preselected

forum as inconvenient or less convenient for themselves or their witnesses, or for their pursuit of




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the litigation.” Id. at 64. “A court accordingly must deem the private-interest factors to weigh

entirely in favor of the preselected forum.” Id.

       Therefore, the private factors weigh entirely in favor of transfer for Activision

Publishing. “The only remaining question is whether this is one of the rare cases in which the

public interest FNC factors favor keeping a case despite the existence of a valid and enforceable

[forum selection clause].” Weber, 811 F.3d at 775–76. This is not one of those rare cases; the

public interest factors collectively favor transfer as well, as explained above.

       In the event that the other parties are not transferred, the Fifth Circuit has identified

additional factors to consider when transfer of claims against a single party requires severance

and transfer:

                First, pursuant to Atlantic Marine, the private factors of the parties
                who have signed a forum selection agreement must, as a matter of
                law, cut in favor of severance and transfer to the contracted for
                forum. Second, the district court must consider the private factors
                of the parties who have not signed a forum selection agreement as
                it would under a Rule 21 severance and section 1404 transfer
                analysis. Finally, it must ask whether this preliminary weighing is
                outweighed by the judicial economy considerations of having all
                claims determined a single lawsuit.

In re Rolls Royce Corp., 775 F.3d 671, 681 (5th Cir. 2014)

       As a matter of law, the private factors favor severance of Activision Publishing, Inc. and

transfer. The private factors of the parties who have not signed a forum selection agreement also

favor transfer under Section 1404(a), as explained above. There will be no judicial economy

considerations weighing against transfer because the case can be effectively managed using

multidistrict litigation procedures. See id. at 681–82 (noting that “a large percentage of the

federal judiciary’s business is conducted through the use of multidistrict litigation process.”).




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               4.      Summary

       The forum selection clause is both mandatory and enforceable. It encompasses this claim

because the claim is nonarbitrable. The private interest factors all weigh in favor of transfer as a

matter of law; the public interest factors also weigh in favor of transfer. Activision Publishing,

Inc., at minimum, should be severed and the case against it transferred to the Central District of

California.

IV.    CONCLUSION

       For the reasons stated above, this action should be transferred to the Central District of

California for all defendants.


Dated: April 26, 2021                           DURIE TANGRI LLP

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                                                Corp.




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                             CERTIFICATE OF CONFERENCE

       I hereby certify that Defendant’s counsel met and conferred with Plaintiff’s counsel

pursuant to Local Rule CV-7(h) regarding the substance of this motion. Plaintiff’s counsel

indicated that Plaintiff opposes this motion.


                                                               /s/ Melissa R. Smith
                                                               MELISSA R. SMITH




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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2021 the within document was filed with the Clerk of

the Court using CM/ECF which will send notification of such filing to the attorneys of record in

this case.

                                                                /s/ Melissa R. Smith
                                                                MELISSA R. SMITH




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